Case 4:22-mj-00011-KPJ Document 14 Filed 01/24/22 Page 1 of 1 PageID #: 82




                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 THE UNITED STATES OF AMERICA §
                              §
 vs.                          §                       CAUSE NO.: 4:22-MJ-011
                              §
 ELMER STEWART RHODES, III    §


                   AGREED ENTRY OF APPEARANCE OF COUNSEL

 X      I wish to enter my appearance as retained co-counsel for the above-named
 defendant in this cause.

 ☐      I hereby enter my appearance as appointed counsel for the above-named
 defendant in this cause.

         I understand that it is my duty to continue to represent the above-named defendant,
 in connection with all matters relating to this case, and in connection with all proceedings
 therein in this court; unless and until, after written motion filed by me, I am relieved by
 Order of the Court.


 Dated: January 24, 2022                              /S/ PHILLIP A. LINDER________
                                                      ATTORNEY FOR DEFENDANT
                                                      STATE BAR NO. 12363560
                                                      3300 OAK LAWN AVENUE, SUITE 700
                                                      DALLAS, TEXAS 75219
                                                      (214) 252- 9900 OFFICE
                                                      (214) 252-9902 FAX



                               CERTIFICATE OF CONFERENCE

        I conferred with Assistant United States Attorney, Justin Sher, on January 24,
 2022, and does not oppose this Entry of Appearance of counsel.


                                                      _/S/ PHILLIP A. LINDER
                                                      ATTORNEY FOR DEFENDANT




 AGREED ENTRY OF APPEARANCE OF COUNSEL- RHODES                                             1
